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                                          UNITED STATES BANKRUPTCY COURT
                                        FOR THE MIDDLE DISTRICT OF TENNESSEE

DEBTORS KEVIN WALTER LEONARD                                                                     Case No.   19-05714-RM3-13
        BRANDY MICHELLE LEONARD
            SSN XXX-XX- 1079 SSN XXX-XX- 8242



                  ORDER CONFIRMING CHAPTER 13 PLAN AND GRANTING RELATED MOTIONS

                                                   CONFIRMED WITH CHANGES

The Court finds that all information required under § 521(a)(1)(B) has been submitted and that the case is not dismissed under §
521(i). The Court further finds that it is in the best interests of creditors and the estate to confirm this case .
The debtors' plan has been transmitted to scheduled creditors and it has been determined after notice and an opportunity for
hearing that the plan meets the confirmation requirements of 11 U.S.C. § 1325 and all timely objections to confirmation have been
withdrawn, resolved, or overruled. It is, therefore, ORDERED:
    1. The plan is confirmed as set out below.
    2. A timely proof of claim must be filed before the creditor will be paid under the plan.
    3. The debtors shall not incur any debts without approval from the trustee or this Court , except debts necessary for
       emergency medical or hospital care.
    4. The debtors shall not reduce the amounts withheld for taxes on a W-4 submitted to an employer without approval of the
       trustee or the Court.

    5. The trustee shall deduct permitted compensation and expenses in accordance with 28 U.S.C. §586(e).

    6. Before making any disbursements to creditors under the plan, the trustee shall disburse to the Court Clerk the sum of
       $310.00 for filing fees.

    7. The debtors shall be responsible for the preservation and protection-including insurance-of all property of the estate .
    8. The trustee and the debtors retain the right to object to any claims or supplements to claims and to pursue any causes of
       action for the benefit of the debtors or the estate-including avoidance and recovery actions and actions that would upset
       the liens of creditors treated as secured under the confirmed plan.


PART 1:     NOTICES

    The confirmed plan DOES include nonstandard provisions, set out in Part 9 below.
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    This order is final and binding under 11 U.S.C. § 1327 upon entry of the order. This order may include provisions different
    than what was contained in the original plan. Parties are encouraged to carefully review the terms of this order and the
    previously noticed plan. Any request to reconsider the terms of this order should be raised within 14 days.
    An exhibit attached to this order lists the claims treated under this confirmed plan as of the submission of this order to the
    Court. This list is subject to modification based on the subsequent allowance or disallowance of claims .

PART 2:     PLAN PAYMENTS AND LENGTH OF PLAN

Debtors will make payments to the trustee as follows:

    $991.00 SEMI-MONTHLY from KEVIN WALTER LEONARD

    [Plus Balance on Hand from Prior Case]

    [via TFS]


    The plan is expected to last approximately 60 months. The plan will not be complete unless the payments to creditors
    specified in this order have been made.

Plan “base” and income tax refunds:
    Debtors shall pay to the trustee a minimum amount, called a “base,” of $118,900.00.

    Any funds remaining from the base after making the other disbursements required by this order shall be used to increase the
    distribution to allowed nonpriority unsecured claims addressed in § 5.1.

PART 3:     TREATMENT OF SECURED CLAIMS

3.1 Maintenance of payments and cure of default under 11 U.S.C. § 1322(b)(5).
      Installment payments on the secured claims listed below will be maintained, and any arrearage through the month of
     confirmation will be paid in full as stated below. Both the installment payments and the amounts to cure the arrearage will
     be disbursed by the trustee.
    Amounts stated on a proof of claim filed in accordance with the Bankruptcy Rules control over any contrary amounts listed
    below as to the current installment payment and arrearage. After confirmation of the plan, the trustee shall adjust the
    installment payments below in accordance with any such proof of claim and any Notice of Mortgage Payment Change filed
    under Rule 3002.1. The trustee shall adjust the plan payment in Part 2 in accordance with any adjustment to an installment
    payment and shall file a notice of the adjustment and deliver a copy to the debtor, the debtor’s attorney, the creditor, and the
    U.S. Trustee, but if an adjustment is less than $25 per month, the trustee shall have the discretion to adjust only the
    installment payment without adjusting the payments under Part 2. The trustee is further authorized to pay any postpetition
    fee, expense, or charge, notice of which is filed under Bankruptcy Rule 3002.1 and as to which no objection is raised, at the
    same disbursement level as the arrearage.
     Confirmation of this Plan imposes on any claimholder listed below the obligation to :
          · Apply arrearage payments received from the trustee only to such arrearages.
          · Treat the obligation as current at confirmation such that future payments, if made pursuant to the plan, shall
    not be subject to late fees, penalties, or other charges.
    If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors
    secured by that collateral will cease.
                                                   Current monthly                            Last month
                                                                           Amount of                              Monthly payment
                                                   payment                                   in prepetition
Creditor/Collateral                                                        arrearage                             on arrearage, if any
                                                   (including escrow)                          arrearage
          CARRINGTON MORTGAGE SERVICES $787.88

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          595 CUMMINGS LANE                                               Prepetition:
          COTTONTOWN, TN 37048                                            $7,310.38                     09/19              pro rata

          1ST MTG CONT 595 CUMMINGS LANE                                  Gap payments:
          COMMUNITY DEBT                                                  $1,575.76                                        pro rata

                                                                          Months in gap:
                                                                          OCT 2019-NOV 2019



3.2 Valuation of security and claim modification.
    For each claim listed below, the Court determines the value of the creditor’s interest in any property securing the
    claim in accordance with the amount stated in the column headed Value securing claim. If this amount exceeds any
    allowed claim amount, the claim will be paid in full with interest at the rate stated below. If the amount is less than
    the allowed claim amount, the claim will be paid the full value securing the claim, with interest at the rate stated
    below.
    The portion of any allowed claim that exceeds the value securing the claim will be treated as an unsecured claim
    under § 5.1. If the value securing a creditor’s claim is listed below as zero or no value, the creditor’s allowed claim
    will be treated entirely as an unsecured claim under § 5.1. The avoidance of any lien because it is not secured by any
    value must be addressed in Part 9. The amount of a creditor’s total claim stated on a proof of claim filed in
    accordance with the Bankruptcy Rules controls over any contrary amount stated below.
    The holder of any claim listed below as secured by any value will retain the lien until the earlier of :
    (a)     payment of the underlying debt determined under nonbankruptcy law, or
    (b)     discharge under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
    If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors
    secured by that collateral will cease.
                                                                                                    Value of
                                                               Amount                              collateral
                                                                  of                Value securing less than Interest            Monthly
Creditor/Collateral                                             Claim                   claim                 Rate               Payment
                                                                                                    Claim?
AMERICAN HONDA FINANCE                                         $5,346.45                 $5,513.00         No     5.25%               $110.00
 2016 HONDA 4X4 4 WHEELER

AMERICAN CREDIT ACCEPTANCE                                   $18,997.00(e)               $18,997.00      No(e)    5.25%               $361.00
 2017 DODGE JOURNEY

FORD MOTOR CREDIT CO                                          $10,054.05                 $10,725.00        No     5.25%               $210.00
 2011 FORD ESCAPE



3.3 Secured claims excluded from 11 U.S.C. § 506.
                                             --------------- NONE ---------------

3.4 Lien avoidance.
                                                  --------------- NONE ---------------

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3.5 Surrender of collateral.
                                                       --------------- NONE ---------------

PART 4: TREATMENT OF PRIORITY CLAIMS (INCLUDING ATTORNEY'S FEES AND DOMESTIC SUPPORT
OBLIGATIONS)

4.1 Attorney’s fees.
      The balance of fees currently owed to CHRISTOPHER M KERNEY is $4,250.00. The total fee awarded to the attorney is $4,250.00
      pursuant to Administrative Order 18-1 .

      Except for any fees retained as a "Success Incentive" , the balance of fees awarded by this order and any additional fees that may be
      awarded shall be paid through the trustee as follows: Available funds.



4.2 Domestic support obligations.

(a) Pre- and postpetition domestic support obligations to be paid in full.
                                                            ----------NONE----------

(b) Domestic support obligations assigned or owed to a governmental unit and paid less than full amount .
                                                            ----------NONE----------

4.3 Other priority claims.
                                                            ----------NONE----------

PART 5:      TREATMENT OF NONPRIORITY UNSECURED CLAIMS AND POSTPETITION CLAIMS

5.1 Nonpriority unsecured claims not separately classified.

   Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata . A minimum sum of -0- and a
   minimum dividend of 20.000% shall be paid to these claims. Any funds remaining after disbursements have been made to all
   other creditors provided for in this plan shall also be distributed to these claims .



5.2 Interest on allowed nonpriority unsecured claims not separately classified.
N/A

5.3 Maintenance of payments and cure of default on nonpriority unsecured claims.
                                                      --------------- NONE ---------------

5.4 Separately classified nonpriority unsecured claims.
                                                       --------------- NONE ---------------

5.5 Postpetition claims allowed under 11 U.S.C. § 1305.

   Claims allowed under 11 U.S.C. § 1305 will be paid in full through the trustee.
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                                                       ----------NONE----------

PART 6:     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1 The executory contracts and unexpired leases listed below are assumed and treated as specified. All other executory
    contracts and unexpired leases are rejected.
                                              --------------- NONE ---------------

PART 7:     ORDER OF DISTRIBUTION OF AVAILABLE FUNDS BY TRUSTEE

7.1 The trustee will make monthly disbursements of available funds in the order indicated by the “disbursement
    levels” in the attached Exhibit.
   If available funds in any month are not sufficient to disburse all fixed monthly payments due under the plan for any
   disbursement level, the trustee shall allocate available funds to the claims in that disbursement level pro rata. If available
   funds in any month are not sufficient to disburse any current installment payment due under § 3 .1, the trustee shall
   withhold the partial payment amount and treat the amount as available funds in the following month .

PART 8:     VESTING OF PROPERTY OF THE ESTATE

8.1 Property of the estate will vest in the debtors upon discharge or closing of the case, whichever occurs earlier, unless an
    alternative vesting date is specified below:


PART 9:          NONSTANDARD PLAN PROVISIONS
Case may be dismissed, without further hearing, upon filing of notice of non-compliance and order dismissing by the trustee .


The DEBTORS shall employ the TFS system to effect regularly pre -scheduled payments no less frequently than monthly and shall
activate the TFS system within 14 days of this order . Debtors' counsel shall assist as necessary .




Approved:
/s/CHRISTOPHER M KERNEY
CHRISTOPHER M KERNEY                                                                    RANDAL S MASHBURN
ATTY FOR THE DEBTOR                                                                     Bankruptcy Judge
519 SOUTH WATER AVE
GALLATIN, TN 37066
615-206-9900
chris@kerneylaw.com



Original 341 Date: October 22, 2019 11:00 am
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                                                             EXHIBIT
                        SCHEDULED AND ALLOWED CLAIMS AND ORDER OF DISTRIBUTION
   The list below identifies the claims treated under this confirmed plan as of the submission of this order to the Court . This
   list is subject to modification based on the subsequent allowance or disallowance of claims .
   The “disbursement level” indicates the order of distribution on a monthly basis. See Part 7 of the attached Order.
   * An asterisk next to a claim indicates that a proof of claim has been filed for the listed creditor. No disbursements will be
   made on any claim pursuant to the plan unless a timely proof of claim is filed.
   ! An exclamation mark next to a claim indicates the trustee has placed a “reserve” on the claim and will withhold
   disbursements pending a further determination. For information about a “reserve” contact the trustee’s office.
                                                                                                                      Order of
               Name of Creditor                                Type of Claim                                         Distribution

               US BANKRUPTCY COURT                             FILING FEE                                                     1
               US BANKRUPTCY COURT                             NOTICE FEE                                                     2
               AMERICAN CREDIT ACCEPTANCE                      AUTOMOBILE LOAN                                                3
               2017 DODGE JOURNEY
   *           AMERICAN HONDA FINANCE                          SECURED CREDITOR                                               3
               2016 HONDA 4X4 4 WHEELER
   *           CARRINGTON MORTGAGE SERVICES                    MTG-ON GOING MTG PYMT                                          3
               1ST MTG CONT 595 CUMMINGS LANE
               COMMUNITY DEBT
   *           FORD MOTOR CREDIT CO                            AUTOMOBILE LOAN                                                3
               2011 FORD ESCAPE
               CHRISTOPHER M KERNEY                            ATTORNEY FEE                                                   4
   *           CARRINGTON MORTGAGE SERVICES                    MTG-PRE-PETITION ARREARS                                       5
               1ST MTG ARRS THRU SEP 595
               CUMMINGS LANE COMMUNITY DEBT
   *           CARRINGTON MORTGAGE SERVICES                    MTG-GAP PYMTS (POST PET/PRE CONF)                              5
               OCT NOV 595 CUMMINGS LANE
               COMMUNITY DEBT
          !    CHRISTOPHER M KERNEY                            ATTY SUCCESS INCENTIVE/PRIOR ATTY                              6
               ALLIED INTERSTATE                               UNSECURED CREDITOR                                             7
   *           BANK OF AMERICA NA                              UNSECURED CREDITOR                                             7
               BELK GECRB                                      UNSECURED CREDITOR                                             7
               CAPITAL ONE                                     UNSECURED CREDITOR                                             7
               CAPITAL ONE BANK                                UNSECURED CREDITOR                                             7
   *           CAPITAL ONE NA                                  UNSECURED CREDITOR                                             7
               KOHLS
   *           CAPITAL ONE NA                                  UNSECURED CREDITOR                                             7
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           KOHLS
   *       CASH EXPRESS                           UNSECURED CREDITOR                                     7
           CASH EXPRESS                           UNSECURED CREDITOR                                     7
   *       HARPETH FINANCIAL SERVICES             UNSECURED CREDITOR                                     7
           2019 CV 4692
   *       HARPETH FINANCIAL SERVICES LLC         UNSECURED CREDITOR                                     7
           ADVANCE FINANCIAL
           HILLER PLUMBING                        UNSECURED CREDITOR                                     7
   *       PORTFOLIO RECOVERY ASSOCIATES LLC UNSECURED CREDITOR                                          7
           COMENITY THE BUCKLE
           SEVENTH AVE                            UNSECURED CREDITOR                                     7
           STATE FARM MUTUAL AUTO INS CO          UNSECURED CREDITOR                                     7
           SUMNER RADIOLOGY                       UNSECURED CREDITOR                                     7
   *       SUMNER REGIONAL MEDICAL CENTER         UNSECURED CREDITOR                                     7
           SYNCB WALMART                          UNSECURED CREDITOR                                     7
           SYNCB WALMART                          UNSECURED CREDITOR                                     7
           SYNCHRONY BANK ELECTRONIC EXPRESSUNSECURED CREDITOR                                           7
   *       T MOBILE T MOBILE USA INC              UNSECURED CREDITOR                                     7
   *       THE BANK OF MISSOURI DBA FORTIVA       UNSECURED CREDITOR                                     7
   *       VERIZON                                UNSECURED CREDITOR                                     7
           VIP MIDSOUTH LLC                       UNSECURED CREDITOR                                     7
           VOLUNTEER STATE COMMUNITY COLLEGE
                                           UNSECURED CREDITOR                                            7
           WAMU CHASE                             UNSECURED CREDITOR                                     7
   *       WORLD ACCEPTANCE CORP                  UNSECURED CREDITOR                                     7
   *       WORLD ACCEPTANCE CORP                  UNSECURED CREDITOR                                     7
           1305 CLAIM                             UNSECURED - 1305                                       8




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